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14
                             UNITED STATES DISTRICT COURT
15                         NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
16

17   CEDRIC DE LISSER, CHRISTOPHER MOSER, Case No. 3:23-cv-00243-JD
     and MICHAEL MICHELIN, in their capacity as
18   the Trustees of the Cred Liquidation Trust,

19                 Plaintiffs,                         DECLARATION OF TERRY L. WIT IN
                                                       SUPPORT OF OPPOSITION TO
20          v.                                         MOTION TO REMAND OR IN THE
                                                       ALTERNATIVE FOR EQUITABLE
21   LOCKTON COMPANIES LLC, d/b/a                      REMAND
     LOCKTON INSURANCE BROKERS LLC, a
22   Missouri limited liability company; LOCKTON
     COMPANIES, LLC – PACIFIC SERIES, d/b/a
23   LOCKTON INSURANCE BROKERS LLC, a
     Missouri limited liability company; and DOES 1-
24
     10, inclusive.
25
                   Defendants.
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                  DECLARATION OF TERRY L. WIT IN SUPPORT OF OPPOSITION TO MOTION TO REMAND
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 1                                DECLARATION OF TERRY L. WIT

 2          I, Terry L. Wit, hereby declare as follows:

 3          1.     I am a member of the bar of the State of California and admitted to practice before

 4 the Court. I am a partner of Quinn Emanuel Urquhart & Sullivan, LLP, counsel for Defendants in

 5 the above-captioned action. Except as otherwise noted, I have personal firsthand knowledge of the

 6 matters set forth in this Declaration, and if called as a witness I would testify competently to those

 7 matters.

 8          2.     Attached hereto as Exhibit A is a true and correct copy of the Modified First

 9 Amended Combined Joint Plan of Liquidation and Disclosure Statement of Cred Inc. and Its

10 Subsidiaries Under Chapter 11 of the Bankruptcy Code filed in the United States Bankruptcy Court

11 for the District of Delaware in Case No. 20-bk-12836 (the “Bankruptcy Action”) on April 16, 2021

12 (Bankr. ECF 722).

13          3.     Attached hereto as Exhibit B is a true and correct copy of the Order Confirming and

14 Approving on a Final Basis Modified First Amended Combined Plan of Liquidation and Disclosure

15 Statement of Cred Inc. and its Subsidiaries Under Chapter 11 of the Bankruptcy Code filed in the

16 Bankruptcy Action on March 11, 2021 (Bankr. ECF 629).

17          4.     Attached hereto as Exhibit C is a true and correct of the Report of Robert J. Stark,

18 Examiner filed in the Bankruptcy Action on March 8, 2021 (Bankr. ECF 605).

19          5.     Attached hereto as Exhibit D is a true and correct of the Motion of Debtors for Entry
20 of Interim and Final Orders (I) Authorizing Debtors to (A) Maintain Insurance Policies, (B) Pay

21 All Related Obligations, and (II) Granting Related Relief filed in the Bankruptcy Action on

22 November 10, 2020 (Bankr. ECF 10).

23          6.     Attached hereto as Exhibit E is a true and correct of the Interim Order (1)

24 Authorizing Debtors to (A) Maintain Insurance Policies, (B) Pay all Related Obligations, and (II)

25 Granting Related Relief filed in the Bankruptcy Action on November 10, 2020 (Bankr. ECF 31).

26          7.     Attached hereto as Exhibit F is a true and correct of the Final Order (1) Authorizing

27 Debtors to (A) Maintain Insurance Policies, (B) Pay all Related Obligations, and (II) Granting

28 Related Relief filed in the Bankruptcy Action on December 18, 2020 (Bankr. ECF 248).

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                   DECLARATION OF TERRY L. WIT IN SUPPORT OF OPPOSITION TO MOTION TO REMAND
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 1         8.      Attached hereto as Exhibit G is a true and correct of the Chapter 11 Voluntary

 2 Petition filed in the Bankruptcy Action on November 7, 2020 (Bankr. ECF 1).

 3         9.      Attached hereto as Exhibit H is a true and correct of the Declaration of Grant Lyon

 4 in Support of Debtors’ Objection to Motion of James Alexander to Dismiss Cred Capital, Inc. filed

 5 in the Bankruptcy Action on January 28, 2021 (Bankr. ECF 433).

 6         10.     Attached hereto as Exhibit I is a true and correct of the Supplemental Declaration

 7 in Support of the Debtors’ Application for an Order Approving Employment and Retention of

 8 Donlin, Recano & Company, Inc. as Administrative Advisor for Debtors filed in the Bankruptcy

 9 Action on December 4, 2020 (Bankr. ECF 130).

10         11.     Attached hereto as Exhibit J is a true and correct of the Motion of the Cred Inc.

11 Liquidation Trust for Entry of Order Approving Third Party Claim Assignment Procedures filed in

12 the Bankruptcy Action on June 23, 2022 (Bankr. ECF 1015).

13         12.     Attached hereto as Exhibit K is a true and correct of the Adversary Case 22-50474

14 Complaint by Cred Inc. Liquidation Trust against Earnity, Inc., Earnity Financial Inc, ET Trader

15 Inc., Domenic Carosa filed in the Bankruptcy Action on December 5, 2022 (Bankr. ECF 1063).

16         I declare under penalty of perjury under the laws of the United States of America that the

17 foregoing is true and correct. Executed this 3rd day of March, 2023, at Alameda, California.

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                                              By    /s/ Terry L. Wit __________
20                                                 Terry L. Wit

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                   DECLARATION OF TERRY L. WIT IN SUPPORT OF OPPOSITION TO MOTION TO REMAND
